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               ORAL ARGUMENT NOT YET SCHEDULED
                                 No. 25-5185

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


              UNITED STATES INSTITUTE OF PEACE, et al.,

                                                  Plaintiffs-Appellees,

                                       v.

                        KENNETH JACKSON, et al.,

                                                  Defendants-Appellants.


  On Appeal from the United States District Court for the District of Columbia
     No. 25-cv-804-BAH, The Honorable Beryl A. Howell, District Judge


           PETITION FOR REHEARING EN BANC AND
     APPLICATION FOR EMERGENCY ADMINISTRATIVE STAY
            OF JUNE 27 ORDER BY MOTIONS PANEL



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  June 29, 2025
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     CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

       Pursuant to D.C. Circuit Rule 28(a)(1), Appellees certify as follows:

A.     Parties and Amici

       Plaintiffs in district court, and appellees here, are the United States Institute

of Peace (USIP); Ambassador John J. Sullivan, in his official capacity as USIP’s

Board Chairman; Nancy Zirkin, Judy Ansley, Joseph L. Falk, Kerry Kennedy, and

Mary Swig, in their official capacities as USIP Board members; and Ambassador

George E. Moose, in his official capacity as USIP’s Acting President and ex officio

Board member. Defendants are Kenneth Jackson, Amy Gleason, James Burnham,

Jacob Altik, Nate Cavanaugh, Secretary Marco Rubio, Secretary Pete Hegseth,

Vice Admiral Peter A. Garvin, Trent Morse, and President Donald J. Trump, in

their official capacities; the U.S. DOGE Service, and the U.S. DOGE Service

Temporary Organization.

       A group of 113 Former Senior Military and Foreign Policy Officials filed a

brief as amici curiae in district court. Those officials are: Hon. Bernadette M.

Allen, Hon. Bernard W. Aronson, Hon. J. Brian Atwood, Hon. Daniel B. Baer,

Hon. Shirley Elizabeth Barnes, Hon. Frederick Barton, Hon. Peter W. Bodde, Hon.

Barbara Bodine, Hon. Richard A. Boucher, Hon. Robert A. Bradtke, Hon. Kenneth

C. Brill, Hon. Johnnie Carson, Hon. Wendy Chamberlin, Hon. Chester A. Crocker,

Hon. Ryan Crocker, Hon. Lisa Curtis, Hon. Jeffrey Davidow, Hon. Ruth A. Davis,
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Hon. Jeffrey DeLaurentis, Hon. Kathleen A. Doherty, Hon. Eric Edelman, Lt. Gen.

Karl Eikenberry, Hon. Nancy H. Ely-Raphel, Hon. Kenneth J. Fairfax , Hon. John

D. Feeley, Hon. Jeffrey Feltman, Hon. Robert Ford, Hon. Laurie S. Fulton, Hon.

Robert L. Gallucci, Hon. Michelle Gavin, Hon. Daniel R. Glickman, Hon. Edward

W. Gnehm, Hon. Rose E. Gottemoeller, Hon. Gordon Gray, Hon. Michael E.

Guest, Hon. Stephen J. Hadley, Hon. John A. Heffern, Lt. Gen. Ben Hodges, Hon.

Arthur H. Hughes, Hon. Cameron Hume, Hon. Robert Hutchings, Hon. Susan E.

Jacobs, Hon. Makila James, Hon. David T. Johnson, Hon. Deborah K. Jones, Hon.

A. Elizabeth Jones, Hon. Colin Kahl, Hon. Theodore H. Kattouf, Hon. Richard D.

Kauzlarich, Hon. Laura Kennedy, Hon. Patrick F. Kennedy, Hon. Jimmy J. Kolker,

Hon. Thomas C. Krajeski, Hon. Daniel C. Kurtzer, Hon. Ellen Laipson, Hon.

Barbara Leaf, Hon. Richard LeBaron, Hon. Mark W. Libby, Hon. Hugo Llorens,

Lt. Gen. Douglas Lute, Hon. Steven R. Mann, Hon. Dennise Mathieu, Hon. Nancy

McEldowney, Hon. Elizabeth Davenport McKune, Hon. James D. Melville, Jr.,

Hon. Richard M. Miles, Hon. Thomas J. Miller, Hon. Derek Mitchell, Hon. Allan

P. Mustard, Hon. Wanda L. Nesbitt, Hon. Ronald W. Neumann, Rear Adm. Huan

Nguyen, Hon. Ted Osius, Hon. Geeta Pasi, Hon. Anne Patterson, Hon. Thomas S.

P. Perriello, Hon. William J. Perry, Hon. Robert C. Perry, Hon. James D. Pettit,

Hon. Thomas R. Pickering, Hon. Steven K. Pifer, Hon. Jo Ellen Powell, Hon.

Robin L. Raphel, Hon. Charles Ray, Hon. Daniel N. Rosenblum, Hon. Dennis B.


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Ross, Adm. Gary Roughead, Hon. William A. Rugh, Hon. Teresita C. Schaffer,

Hon. Mattie R. Sharpless, Hon. David B. Shear, Hon. David H. Shinn, Hon. Anne-

Marie Slaughter, Hon. Amanda Sloat, Hon. Joan Spero, Hon. Sylvia G. Stanfield,

Hon. Mark C. Storella, Hon. William B. Taylor, Jr., Hon. Linda Thomas-

Greenfield, Hon. Toni Verstandig, Hon. Jacob Walles, Hon. Mark Ward, Hon. Earl

A. Wayne, Hon. Kevin Whitaker, Hon. Bisa Williams, Hon. Molly Williamson,

Hon. Ross L. Wilson, Hon. Anne A. Witkowsky, Hon. Kenneth Yalowitz, Hon.

Donald Yamamoto, Hon. Marie Yovanovitch, Hon. Uzra Zeya, and Gen. Anthony

C. Zinni.

      A group of 128 former USIP employees and personal service contractors

also filed a brief as amici curiae in district court. Those individuals are: Pamela

Aall, Camille Akinnusotu, April Alley, Sayed Habib Ameri, Kateira Aryaeinejad,

Lauren Baillie, Nicoletta Barbera, Robert Barron, Jon F. Bishop, Tegan Blaine,

Kent Brokenshire, Cassandra Burns, Elizabeth (Liz) Callihan, Katia Cavigelli,

Aaron Chapman, Alejandro Chile, Ben Clarick, Nicole Cochran, Brittany Croll,

Margo Cunniffe, Wapoenje Dacruz Evora, Catherine Dale, Anna Daley Laursen,

Michael Darden, Caroline Dibble, Ena Dion, Shauna Eisenberg, Kamel Fakhry,

Georges Fauriol, Mark Feierstein, Tracy Fleming, William Ford, Athena Mison

Fulay, Mirna Galic, Adam Gallagher, Galen Gammino, Asalou Givens, Mary

Glantz, Corinne Graff, Anne-Marie Gwynn-Sackson, Alean Haider Sayedzada,


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Madison Handy, Brian Harding, Sarah Harper-Johnston, Gavin Helf, Mary Anne

Holmcrans, Katie Hortenstine, Joshua Ivey, Ibanez Jacobs, Kathryn (Katie) Jones,

Palwasha Kakar, Dominic Kiraly, Nicole Krakora, Kathleen Kuehnast, Lucy

Kurtzer-Ellenbogen, Illana Lancaster, Allison Larmann, Philippe Lerou-Martin,

Megan Madeira, Bethesda Manrique, Angelina Marioni, Daniel Markey, Carol

McKay, Joia McManus, Maria Antonia Montes, Jeremy Moore, Elizabeth Murray,

Garrett Nada, Anthony Navone, Analise Obremskey, Matthew Parkes, Barmak

Pazhwak, Michael Phelan, Alli Phillips, Camilla Pohle, Samuel Ponzar, Brielle

Powers, Thea Price, Miriam Psychas, Julie Ramirez, Harriet Randolph, Paola

Ricaurte, Steven M. Riskin, Victoria Rivera, Danielle Robertson, Samantha

Robinson, Steven Ruder, Katie Ruppert, Aaya Rustom, Julia Schiwal, Brigitta

Schuchert, Tyler Scrimager, Gabrielle Seamon, Jayani Senanayake, Christopher M.

Sfetsios, Karine Shalaby, Shafique Shalizi, Kirtika Sharad, Jamie Shillinger,

Samantha Shimer, Mariam Sidibe, Shadya Sims, Jaclyn Sirc, Tiffany (Daniella)

Smith, Mary Speck, Daniel Spinelli, Jennifer Staats, Susan Stigant, Allison

Sturma, Hodie Sultan, Yousof Sultan, Manal Taha, Alicia Talamas, James Tanton,

Kiersten Terrell, Anita Thompson, Denise Thrift, Calin Trenkov-Wermuth, Henry

Tugendhat, Rachel Vandenbrink, David Vega-Pulido, Jessica Vermooten, Richard

Walker, Kristen Wall, Katherine Waters, Andrew Wells-Dang, Scott Worden, and

Karen Zehr.


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B.    Ruling Under Review

      The ruling under review in the underlying appeal is the District Court’s

order granting summary judgment (Dkt. 39) and accompanying memorandum

opinion (Dkt. 40) in United States Institute of Peace v. Jackson, No. 1:25-cv-804

(D.D.C.), issued on May 19, 2025, by the Hon. Beryl A. Howell. The District

Court’s opinion is available at 2025 WL 1428641.

      The ruling under review in this Petition is the order of a panel of this Court in

United States Institute of Peace v. Jackson, No. 25-5185 (D.C. Cir. June 27, 2025)

granting Appellant’s request for an emergency stay of the District Court’s injunction

pending appeal. That order, issued on June 27, 2025, is attached to this Petition.

C.    Related Cases

      This case has not previously been before this Court. Pippenger v. U.S.

DOGE Service, No. 1:25-cv-909 (D.D.C. filed April 10, 2025), involves a similar

challenge to the President’s removal of USIP’s Board members. While other

challenges involving the President’s removal of government officials have been

before this Court, no other case, to Counsel’s knowledge, involves substantially the

same parties as this case.




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              INTRODUCTION AND RULE 40(b) STATEMENT

      The Supreme Court’s May 22 stay order in Trump v. Wilcox signaled an

inclination to narrow the recognized exception to at-will presidential removal for

Executive Branch agencies with multi-member bipartisan boards to exclude two

agencies (NLRB and MSPB) that the Court found “exercise considerable executive

power.” Trump v. Wilcox, 145 S. Ct. 1415, 1415 (2025). The Wilcox stay order did

not overrule any precedent and the Court was careful to acknowledge that the

merits question “is better left for resolution after full briefing and argument.” Id.

The merits question in those cases is now before a panel of this Court. Yet, on

June 27, a motions panel of this Court stayed a judgment blocking presidential

orders to remove members of the multimember bipartisan board of the U.S.

Institute of Peace (“USIP”) contrary to statutory removal restrictions—even though

USIP is an independent non-profit corporation outside the Executive Branch that

primarily assists Congress through research and efforts to implement nonviolent

conflict resolution. Pursuant to authority conferred by Congress, USIP also

promotes peaceful conflict resolution through scholarship, grantmaking, and

awards. It neither portrays itself, nor is it understood by foreign parties or (before

this case) Executive Branch officials, to be acting on behalf of the Executive.

      The motions panel’s stay order goes far beyond Wilcox by mandating at-will

presidential removal not just for every executive agency, but also for bodies
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performing quasi-private non-executive work that Congress intentionally placed

outside the Executive Branch, in keeping with a long tradition. See id. (“The

Federal Reserve is a uniquely structured, quasi-private entity that follows in the

distinct historical tradition of the First and Second Banks of the United States.”).

En banc review is warranted, because under the panel’s view there is nothing left

of Humphrey’s Executor and Wiener.

      The panel’s ruling thus conflicts with the Supreme Court’s long-recognized

exceptions to the President’s at-will removal power. And it involves questions of

exceptional importance regarding the scope of the President’s executive power.

This court’s full review is thus warranted under Federal Rule of Appellate

Procedure 40(b)(2)(B) and (D). En banc consideration will “resolve for the

circuit,” for purposes of likelihood of success on the merits questions, the effect of

the Wilcox stay order on Circuit and Supreme Court precedent at a time when other

cases—and other stay applications—are in the pipeline. Am. Meat Inst. v. U.S.

Dep't of Agric., 746 F.3d 1065, 1073 n.1 (D.C. Cir.), reh'g en banc granted,

opinion vacated, 2014 WL 2619836 (D.C. Cir. 2014), and judgment reinstated, 760

F.3d 18 (D.C. Cir. 2014).

      Vacating the panel’s order is necessary because during the 10 weeks

Defendants were in control of USIP, their representatives (from DOGE) decimated

USIP’s staff, headquarters, and computer systems, transferred ownership of its


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building (constructed in part with private donations) to GSA for free, and

transferred its funds from its private bank account to the Treasury. A stay will

enable DOGE personnel to shutter USIP’s just-resuming programs, to re-fire its

rehired staff, and to damage the USIP building again. If that were to happen, it is

not clear that USIP will be able to survive until Defendants’ appeal is resolved on

the merits. In short, without immediate action to lift the stay imposed by the panel,

there will likely be nothing left of USIP by the time the District Court’s judgment

in USIP’s favor reaches a merits panel. The President is entitled to ask Congress to

abolish USIP and reclaim its assets, but he cannot do so unilaterally through a

DOGE demolition team.

      Even a brief return to DOGE’s control while the en banc Court considers the

Petition could inflict serious, irreparable harm to USIP. And the Supreme Court

has counseled that “the disruptive effect[s] of the repeated removal and

reinstatement of officers during the pendency of [] litigation” should be avoided.

Wilcox, 145 S. Ct. at 1415.

      For this reason, Appellees also respectfully request an immediate

administrative stay of the panel’s order while the Court considers the en banc

Petition. Staying the panel’s order will restore the status quo ante, and allow the

full Court to consider the merits of this Petition without risking the imminent

destruction of USIP. On the other side of the ledger, Defendants’ stay motion


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failed to identify any specific, concrete way in which the Administration’s agenda

will be harmed if the District Court’s order remains in effect during Defendants’

appeal.

                             STATEMENT OF THE CASE

      A. The Structure and Duties of USIP

      Congress established USIP in 1984 as an “independent nonprofit

corporation.” Pub. L. No. 98-525, 98 Stat. 2492 (1984) (codified at 22 U.S.C.

§§ 4601-4611). USIP owns its headquarters building—built largely with private

funds. It is a juridical person that can sue and be sued in its own name, and it lacks

federal sovereign immunity. Id. §§ 4603(d), 4604(k). USIP has independent

authority to submit funding requests directly to Congress, unlike Executive Branch

entities, which funnel their requests through OMB. See id. § 4608(a).

      USIP’s activities “are solely focused on research, education, and

scholarship.” Mem. Op., Dkt. 40 (“Op.”) 65; see also 22 U.S.C. § 4604(b). To

engage in these activities, USIP may make grants and enter contracts with

educational and research institutions. Id. § 4604(d). These activities are similar to

those carried out by non-governmental organizations, by congressionally-chartered

non-profits, and by congressional committees. Op. 66-67, 73-74.

      “[D]erivative of and in furtherance of its educational and research missions,”

USIP also participates in peaceful conflict resolution efforts in other countries. Op.


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70. When it serves as a third-party neutral in mediating conflicts around the globe,

it does so not in furtherance of “Executive branch foreign policy,” but rather to

“teach[] others how to resolve conflict peacefully by facilitating conversation.” Id.

These efforts do not include planning or participation by United States government

agencies. Importantly, USIP selects its own projects and programmatic priorities,

and its overseas staff is not supervised by the U.S. chief of mission. When

engaged in these efforts, USIP does not act in the name of the United States. Op.

68-72.

      When USIP does choose to respond to a request for assistance from a

government branch, it is often Congress. For example, in 2006 a bipartisan

congressional group enlisted USIP to facilitate the Iraq Study Group by convening

expert working groups, writing papers, providing analysis, and coordinating

meetings. Op. 69.

      USIP’s powers are vested in a Board of Directors. Twelve directors of

USIP’s Board (the “(b)(4) directors”) are “individuals appointed by the President,

by and with the advice and consent of the Senate.” 22 U.S.C. § 4605(b)(4). The

Board must have partisan balance—no more than eight of the fifteen members may

belong to the same political party—and its members must have appropriate

experience in peace and conflict resolution efforts. Id. §§ 4605(c), (d)(1). The

President may remove them under defined circumstances, including “for


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conviction of a felony, malfeasance in office, persistent neglect of duties, or

inability to discharge duties.” Id. § 4605(f). The Board appoints USIP’s president.

Id. § 4606(a).

      B. DOGE’s Dismantling of USIP

      On March 14, 2025, the Office of Presidential Personnel sent emails firing

all the (b)(4) directors. Op. 16. It is undisputed that these emails did not comply

with the USIP Act’s restrictions on board member removal. Op. 15-22. That same

day, USIP’s ex officio board members purported to terminate USIP’s Acting

President, Ambassador George Moose, and to appoint Defendant Jackson as his

replacement. Mr. Jackson in turn was almost immediately replaced by a young and

inexperienced DOGE representative, Defendant Cavanaugh. Op. 16. On March

17, 2025, DOGE took control of USIP headquarters in a “tense sequence of

events,” during which DOGE enlisted law enforcement from multiple separate

agencies to effectuate DOGE’s takeover of the building. Op. 18-19.

      Over the next two weeks, DOGE fired almost all USIP’s employees. It acted

to transfer USIP’s building to GSA without compensation, and transferred to the

Treasury $13 million held in USIP’s private bank account and the account of its

separately incorporated private Endowment. Op. 21-22. DOGE’s Cavanaugh

halted all of USIP’s programs, even those mandated by Congress, and canceled




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USIP’s contracts, including those providing security for USIP personnel overseas.

Op. 22.

      After the District Court invalidated the removal of the individual Plaintiffs

and restored their control over the building, Plaintiffs discovered that the USIP

headquarters had been “essentially abandoned for many weeks.” Moose Decl. ¶ 8,

Dkt. 45-1. DOGE had not maintained or secured the building while it was in their

possession, resulting in physical damage, water damage, and infestation by rats and

roaches. Id. ¶¶ 10-11. Public reports noted that DOGE staff used one area of the

building as a party den: USIP’s regular cleaning staff found significant amounts of

marijuana when inspecting the building after regaining access. See Nikki McCann

Ramirez, Did DOGE Staffers Leave Weed in the U.S. Institute of Peace?, ROLLING

STONE (June 3, 2025), https://perma.cc/SG2K-LSUS.

      C. Procedural History of the Litigation

      On March 18, the day after DOGE seized control of USIP’s headquarters,

USIP and five of its directors filed a complaint seeking to nullify the unlawful

terminations of the (b)(4) directors and all actions that followed, including

Defendants’ takeover of USIP’s headquarters building. Dkt. 1, 2. On May 19,

after full briefing on cross-motions for summary judgment and a hearing, the

District Court granted summary judgment for Plaintiffs in a 102-page ruling and




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issued declaratory and injunctive relief invalidating the board terminations and all

actions that followed therefrom. Op. 101-102; Dkt. 39 (Order).

      On May 21, after obtaining assistance from Defendants’ counsel, Acting

President Moose and other USIP staff regained control over USIP’s headquarters.

Under their leadership, USIP has begun the process of rehiring staff and restoring

its functions. Moose Decl. ¶ 7, Dkt. 45-1.

      Defendants appealed, sought a stay in the District Court on May 22, and then

moved for a stay of the District Court’s Order in the D.C. Circuit on May 23. Later

on May 23, the District Court denied the stay request. Dkt. 46. Over a month

later, on June 27, a motions panel of this Court granted Defendants’ stay request in

a brief order, attached to this Petition.

                                        ARGUMENT

      The full Court’s intervention is urgently needed. For nearly a century,

Congress has created non-profit corporations outside the Executive Branch to

engage in particular activities that broadly serve the nation’s interests. The

Smithsonian Institution, which has a structure incompatible with at-will

presidential removal, is one example. Both the American Red Cross, which acts as

the United States’ representative in fulfilling certain international treaty




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obligations, and the U.S. Olympic Committee, which represents the United States

in international bodies governing sport, are two more. USIP is another.

      The panel’s decision upends this historical balance of power, threatening to

transform all entities created by Congress into agencies of the Executive Branch

subject to the unrestricted removal authority of the President, and contrary to

legislative intent. The panel has gone far beyond the Wilcox stay order. It does not

apply or even cite Humphrey’s Executor’s exception for bipartisan multimember

expert boards. The implication of the panel’s decision extending at-will

presidential removal to a non-profit corporation is that no entity established by

Congress, and certainly no entity actually within the Executive Branch (which

USIP is not), is exempt from the President’s absolute removal authority. To reach

its outcome, the panel disregarded the District Court’s careful analysis of the

extensive factual record, cherry-picked snippets to find executive power where

there is none, and simply declared USIP’s activities to be “substantial executive

power.” Without the full Court’s intervention, the panel’s decision threatens to

limit Congress’s ability to create organizations that serve unique functions outside

the Executive Branch.

I.    THE PANEL’S CONCLUSION THAT USIP EXERCISES EXECUTIVE
      POWER MISSTATES THE RECORD

      The panel based its determination on a single conclusion: that “the Institute

exercises substantial executive power” because it engages in “foreign affairs.”
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Exhibit 1, Panel Stay Order (“Order”) 2-3. To support its conclusion, the panel

references USIP’s “peacebuilding” and “post-conflict . . . stabilization” work. Id.

at 3.

        But as the District Court recognized, the question is not whether USIP has

focused its efforts on “international peace and conflict resolution”—all parties

agree that it has. Op. 8-10, 66-67. The relevant question is whether USIP

performs this work “on behalf of the government.” Op. 67. If it does not, then it is

not “wield[ing] any executive power as understood in Article II.” Op. 72. And on

this question, the record, and the District Court’s factual conclusions, could not be

clearer: USIP “never represents the U.S. government in its interactions abroad” and

“acts as a completely independent, nongovernmental organization when engaging

with foreign groups.” Op. 72 (emphases added); see also Appellees’ Stay

Opposition Br., USCA No. 25-5185, Doc. 2118622 (“Stay Opp.”) 12-14.

        The panel disregarded the District Court’s careful, thorough analysis of the

extensive, undisputed factual record. It instead reaches its conclusion based on a

few selectively quoted passages from four of the sixteen declarations that Plaintiffs

submitted to the District Court in support of their motion for summary judgment.

Those declarations, and the other evidence offered by Plaintiffs, explained fully

USIP’s study, training, and applied research activities focused on peacebuilding

and nonviolent conflict resolution. As the District Court found, those declarations,


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individually and collectively, make it clear that USIP does not exercise executive

power. But the panel ignored statements, often in the very same sentence or

paragraph of the declarations it cited, that are directly contrary to the panel’s

conclusion.

    The panel quotes Scott Worden’s description of USIP’s peacebuilding efforts
     in Afghanistan, Order 3 (quoting Worden Decl., ¶ 5, Dkt. 20-34), but omits
     Worden’s explanation, in the very same sentence, that the only reason USIP
     was able to carry out this work was because USIP was “viewed as non-
     governmental” by Afghan and international stakeholders. Worden Decl., ¶ 5.

    The panel quotes Catherine Dale’s declaration, which talks about USIP’s
     peace-related work with the Azerbaijani and Armenian embassies, Order 3
     (quoting Dale Decl., ¶ 6, Dkt. No. 20-9), but omits Dale’s statement that the
     participants took part only because they “trust[ed]” USIP’s role as a “neutral
     arbiter” independent of any government. Dale Decl., ¶ 5.

    The panel relies on Samantha Robinson’s statement that USIP “has engaged
     in peacebuilding with conflict parties,” Order 3 (citing Robinson Decl. ¶ 4,
     Dkt. No. 20-11), but omits that USIP is only able to meaningfully engage in
     these activities because of its “independence from the government.”
     Robinson Decl., ¶ 4.

    The panel cites Brian Harding’s description of USIP’s efforts to facilitate
     cease-fire efforts with a rebel group in the Philippines, Order 3 (quoting
     Harding Decl., ¶ 6, Dkt. No. 20-8), but fails to mention that USIP undertook
     these efforts not pursuant to a request “by the U.S. government (who are
     barred from traveling in this area),” but from parties in the Philippines.
     Harding Decl., ¶ 6. Indeed, Harding stated that “USIP personnel are
     explicitly advised that they are not to take orders from U.S. ambassadors.”
     Id. ¶ 4.

      These declarations and the entire record show that USIP does not hold itself

out as, and is not engaged in, international activities on behalf of the Executive

Branch. See, e.g., Aum Decl., ¶ 4, Dkt. 20-36; Helf Decl., ¶¶ 5-6, Dkt. 20-10 (each

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establishing that USIP’s work overseas was not undertaken on behalf of the

government or in the implementation of government policy).

      In short, the panel adopts (Order 3) an assertion by Defendants that USIP’s

activities “facilitat[e] the foreign policy of the United States,” which is flatly

contrary to the factual record. That record demonstrates that USIP operates

independently of the entities in the Executive Branch that formulate and execute

the nation’s foreign policy. See Stay Opp. 12-14.

II.   THE PANEL WENT FAR BEYOND THE WILCOX STAY ORDER IN
      ABROGATING THE HUMPHREY’S EXECUTOR AND WIENER
      EXCEPTION

      USIP’s independence from the Executive Branch is no accident. It is

fundamental to Congress’s intent. As an amicus brief submitted in the District

Court by 113 former Executive Branch officials explained, Congress made a

“considered and intentional” decision: to have USIP “operate independently

precisely so that it could perform work that Congress deemed most appropriately

performed outside of the Executive Branch, none of which is executive in nature.”

Dkt. 31 at 3, 7; see also Op. 73 (citing the amicus brief).

      The panel’s decision is thus not only a departure from the record; it reflects a

departure from the separation of powers principles that define our government. It

threatens a revolution of unlimited executive control over entities that are not

within the scope of the President’s Article II powers. And without a mention, it


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casts aside the Humphrey’s Executor and Wiener rule allowing Congress to impose

restrictions on the President’s removal power for multimember, nonpartisan expert

bodies like USIP that do not exercise substantial executive power. See Humphrey’s

Executor v. United States, 295 U.S. 602 (1935); Wiener v. United States, 357 U.S.

349 (1958).

      For more than a century, courts have recognized Congress’s power to create

congressionally chartered corporations outside of Executive Branch control. See,

e.g., S.F. Arts & Athletics, Inc. v. U.S. Olympic Comm., 483 U.S. 522, 542-47

(1987) (holding that the U.S. Olympic Committee is not a governmental actor);

Dong v. Smithsonian Inst., 125 F.3d 877, 879 (D.C. Cir. 1997) (holding that the

Smithsonian “is not an establishment in the executive branch” for purposes of the

Privacy Act); see also Stay Opp. 16-18. But the panel’s order reflects a vision of

executive control fundamentally at odds with Congress’s longstanding exercise of

its Article I powers.

      Start with the panel’s treatment of foreign affairs. It concludes that any

involvement in matters abroad places an entity within the President’s unrestricted

removal power. Order 3. But an entity that engages in international work outside

the Executive Branch is no novelty. As the District Court explained, “the

Executive branch does not control everything touching that subject area.” Op. 67.

Non-governmental organizations, for instance, have long had a history of


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promoting peacebuilding and conflict resolution. Op. 66-74. Organizations like

the National Endowment for Democracy, the International Republican Institute,

and the Carter Center all play such roles. See Council on Foreign Relations, Soft

Power: Democracy-Promotion and U.S. NGOs (Mar. 17, 2006),

https://perma.cc/MZ58-V5ZF; see also Op. 74.

      Like NGOs, governmental—but non-executive—organizations also engage

on international matters. Congress established the American Red Cross as a

federally chartered entity that carries out treaty obligations and acts as an

independent interlocutor with foreign groups. Stay Opp. 3, 18; Op. 74. But is not

an Executive Branch agency. Congress established and charged the U.S. Olympic

Committee with representing the United States on the world stage of athletic

competition. Id. But it is not a “governmental actor” (for the purpose of a

constitutional analysis). U.S. Olympic Comm., 483 U.S. at 542-47.

      The same is true for USIP. It should come as no surprise that Congress

structured USIP to pursue its research and peacebuilding functions free from

unfettered Executive Branch control. As the Supreme Court has recognized,

Congress has concurrent foreign affairs powers and plays a substantial role in

foreign affairs. Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 21-22 (2015); id.

at 66 (Roberts, C.J., dissenting); id. at 67 (Scalia, J., dissenting); see also Stay Opp.

2, 16. And as the declarations cited above make clear, Congress did so because it


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understood that USIP’s peacebuilding activities would be enhanced—and indeed,

only would be possible—because USIP is outside of the Executive Branch and not

acting on behalf of, official U.S. policymaking bodies like the State Department.

See, e.g., Dale Decl., ¶¶ 5-7; Harding Decl., ¶¶ 6-7; Robinson Decl., ¶4; Worden

Decl., ¶ 5.

      But the panel’s order wipes this away. It threatens the ability of any non-

Executive (but congressionally created) actor to operate in the manner Congress

intended. Subjecting USIP to unrestricted Article II power would eliminate the

independence from Executive Branch policymaking bodies that enables USIP to

effectively fulfill the mission assigned it by Congress.

      The panel’s order goes even further. It also finds that USIP is likely to be

found subject to unfettered Executive Branch control because it provides “stipends,

grants, and fellowships” and provides “training, symposia, and continuing

education programs” for “noncitizens” and people outside the United States. Order

3. The panel’s view that such conduct constitutes the exercise of “substantial

executive power” (id. at 2), if accepted, would render the Seila Law standard

meaningless. See Seila Law LLC v. CFPB, 591 U.S. 197, 218 (2020) (referencing

the exception for “multimember expert agencies that do not wield substantial

executive power”). The award of grants or contracts to support research is not an

inherently executive function, let alone a “considerable” one. See Dong, 125 F.3d


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at 882 (Smithsonian’s funding of grants and fellowships is “no different from any

private research university which receives federal funds and enjoys some control

over their use”); see also Stay Opp. 14-15. Even within the federal government,

awarding scholarships and grants to support research is not within the exclusive

province of the Executive Branch. As but one example, the board of the Federal

Judicial Center is empowered to contract with “private agencies and persons for

research projects.” 28 U.S.C. § 624(3). And, it is Congress, not the executive, that

has the constitutional spending power and directs how appropriated funds may be

spent.

         Under the panel’s reasoning, however, all entities empowered by Congress

to administer grants and contracts are threatened with unrestricted executive

control. The panel’s order, if allowed to stand, would alter the balance of power

between the Executive Branch and Congress. It would dramatically limit the

latter’s ability to exercise its Article I powers by creating entities outside of the

President’s unrestricted removal power when it finds a measure of independence is

necessary to accomplish important goals that serve the public’s interests.




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                                  CONCLUSION

      For these reasons, Plaintiffs-Appellees request that the en banc Court vacate

the panel’s order staying the District Court’s injunction and grant en banc rehearing

of the panel’s order.

      Plaintiffs-Appellees also request a temporary, administrative stay of the

panel’s order while the Court considers this Petition. Control over USIP has

already ping-ponged during the course of this litigation. And interim control by

DOGE resulted in the cessation of contracts, the termination of nearly all

employees, the seizure of funds, and damage to USIP’s headquarters and assets.

During the last time control of USIP was disputed without any operative court

order in place, DOGE sought to take control of USIP’s headquarters building by

force. Once in control, DOGE left the building largely vacant and failed to

maintain it, allowing vermin infestation and damage throughout. Pursuant to the

District Court’s order, USIP’s duly appointed leadership was able to resume

operational control over the entity.

      There is not now, and never has been, any evidence offered by Defendants

that the President’s foreign policy agenda has been impacted in any way by the

operations of USIP mandated and authorized by Congress. Accordingly, there can

be little value in allowing DOGE to implement another takeover, while the en banc

Court considers this Petition and while Defendants’ appeal is resolved on the


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merits. In fact, given the damage done to USIP last time, another takeover by

DOGE risks effectively destroying USIP and rendering meaningless any future

merits decision affirming the District Court. For this reason, Plaintiffs-Appellees

request that the Court allow USIP’s duly appointed leadership to remain in charge,

as the District Court ordered, while this Court considers this Petition.



June 29, 2025                                  Respectfully submitted,

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                                   ADDENDUM

                   RULE 26.1 DISCLOSURE STATEMENT

      The United States Institute of Peace is an independent non-profit corporation

endowed by Congress with the powers of a District of Columbia non-member non-

profit corporation except the power to cease activities and dissolve. It has no

parent corporation and no publicly held corporation owns 10% or more of its stock.

As a non-member non-profit corporation, USIP has no shareholders.
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                      CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the applicable type-volume limitation set

forth in Federal Rule of Appellate Procedure 27(d)(2)(A) because it contains 3,896

words, excluding the portions of the brief exempted by Federal Rule of Appellate

Procedure 32(f) and D.C. Circuit Rule 32(f).

      I further certify that this brief complies with the typeface and type-style

requirements of Federal Rule of Appellate Procedure 32(a)(5) and (a)(6) because it

has been prepared using Microsoft Word Office in a proportionally spaced typeface

(Times New Roman, 14 point).


                                                     /s/ Andrew N. Goldfarb
                                                     Andrew N. Goldfarb
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                         EXHIBIT 1
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No. 25-5185                                                 September Term, 2024
                                                                         1:25-cv-00804-BAH
                                                       Filed On: June 27, 2025
United States Institute of Peace, et al.,

              Appellees

       v.

Kenneth Jackson, in his official capacity as
Assistant to the Administrator for
Management and Resources for USAID and
in his purported capacity as acting president
of the United States Institute of Peace, et al.,

              Appellants


       BEFORE:       Katsas, Rao, and Walker, Circuit Judges

                                            ORDER

     Upon consideration of the emergency motion for stay pending appeal and an
immediate administrative stay, the opposition thereto, and the reply, it is

        ORDERED that the motion for stay pending appeal be granted. The Government
has shown that (1) it “is likely to succeed on the merits,” (2) it “will be irreparably injured
absent a stay,” (3) a stay will not “substantially injure” other interested parties, and (4) a
stay is in the “public interest.” See Nken v. Holder, 556 U.S. 418, 434 (2009).

                                       I. Background

        Congress created the United States Institute of Peace in 1984 as “an
independent, nonprofit, national institute” designed “to promote international peace and
the resolution of conflicts among the nations and peoples of the world without recourse
to violence.” 22 U.S.C. § 4601(b). The Institute is governed by a fifteen-member board,
comprised of three ex officio members — the Secretary of State, Secretary of Defense,
and president of the National Defense University — and twelve members appointed by
the President and confirmed by the Senate. Id. § 4605(b). The twelve appointed
members are statutorily insulated from at-will removal by the President. Id. § 4605(f)
(specifying removal restrictions).
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       On February 19, 2025, President Trump issued an executive order directing that
the “non-statutory components and functions” of the Institute “shall be eliminated to the
maximum extent consistent with applicable law” and that the Institute “shall reduce the
performance of [its] statutory functions and associated personnel to the minimum
presence and function required by law.” Exec. Order No. 14,217 § 2, 90 Fed. Reg.
10577, 10577 (Feb. 19, 2025). Following that order, on March 14, 2025, President
Trump terminated the Institute’s appointed members without invoking the criteria in
22 U.S.C. § 4605(f). United States Institute of Peace v. Jackson, No. 25-cv-804, 2025
WL 1428641, *7 (D.D.C. May 19, 2025). The three remaining ex officio members then
replaced the Institute’s president and transferred the Institute’s headquarters building to
the General Services Administration, among other contested actions. Id. at *7, *10; see
22 U.S.C. § 4606(a) (authorizing Board to appoint and remove the Institute’s president).

       Five of the removed board members challenged their terminations as unlawful.
United States Institute of Peace, 2025 WL 1428641 at *10. They requested
reinstatement and further argued that after their removals, “all subsequent actions taken
on behalf of [the Institute] under defendants’ leadership” are invalid. Id. at *10, *12.
The district court agreed. It entered a permanent injunction reinstating the removed
board members and unwinding various actions taken by the ex officio members during
the removed members’ absences. Id. at *45-47.

                        II. Likelihood of Success on the Merits

      As a general rule, the President may remove executive officers at will. Seila Law
LLC v. CFPB, 140 S. Ct. 2183, 2206 (2020). The Supreme Court has recognized a
narrow exception for “multimember expert agencies that do not wield substantial
executive power” and that exercise “quasi-judicial” or “quasi-legislative” power. Id. at
2199-2200. Because the Institute exercises substantial executive power, the
Government is likely to succeed on its claim that the Board’s removal protections are
unconstitutional.1


1
  Although Congress structured the Institute as a nonprofit corporation, it “is part of the
federal government for constitutional separation-of-powers purposes.” United States
Institute of Peace v. Jackson, No. 25-cv-804, 2025 WL 1428641, *20 (D.D.C. May 19,
2025); Herron v. Fannie Mae, 861 F.3d 160, 167 (D.C. Cir. 2017) (“a corporation is part
of the Government for constitutional purposes when: (1) the Government creates the
corporation by special law, (2) for the furtherance of governmental objectives, and
(3) retains for itself permanent authority to appoint a majority of the directors of that
corporation” (cleaned up)).

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        The record shows that the Institute engages in extensive activities within the
domain of the President’s foreign affairs powers. According to declarations submitted
by the plaintiffs, the Institute “has engaged in peacebuilding with conflict parties, armed
groups, key civil society actors, and other stakeholders” abroad. Robinson Decl. ¶ 4,
Dkt. No. 20-11. For example, the Institute brought together “trusted Palestinian, Israeli,
and regional interlocutors to work together on problem-solving related to post-conflict
recovery and stabilization in Gaza.” Id. ¶ 6. It also fielded requests from the
government of the Philippines “to discreetly facilitate ceasefire efforts” between it and a
rebel group. Harding Decl. ¶ 6, Dkt. No. 20-8. In Afghanistan, the Institute rented an
office in Kabul to “convene a variety of Afghan and international stakeholders . . . and
create[ ] a neutral space for peacebuilders to engage in open dialogue.” Worden Decl.
¶ 5, Dkt. No. 20-34. And the Institute facilitated “informal conversations with the
Azerbaijani and Armenian Embassies about what would be needed . . . to reach a
peace agreement ending their 30-plus year war.” Dale Decl. ¶ 6, Dkt. No. 20-9. We
agree with the Government that “[f]acilitating the foreign policy of the United States by
brokering peace among warring parties on the international stage is plainly an exercise
of executive power under our Constitution.” Stay Mot. at 11.

       The Institute also shapes foreign affairs in the interest of the United States
through the exercise of soft power. For example, it provides “stipends, grants,
fellowships, and other support to . . . leaders and scholars” from abroad and “conduct[s]
training, symposia, and continuing education programs” for “noncitizens.” 22 U.S.C.
§ 4604(b)(1), (6). These are not merely “investigative and informative activities,” contra
United States Institute of Peace, 2025 WL 1428641 at *29 (quoting Buckley v. Valeo,
424 U.S. 1, 137 (1976)), but soft-power initiatives intended “to further the Nation’s
interest in promoting international peace,” 22 U.S.C. § 4601(a)(7). The Institute does all
this while authorized to use “‘United States’ or ‘U.S.’ or any other reference to the
United States Government or Nation in its title or in its corporate seal, emblem, badge,
or other mark of recognition.” Id. § 4603(e)(2).

        The President’s inability to control the Institute’s exercise of these “significant
executive power[s]” undermines his ability to set and pursue his foreign policy
objectives. Seila Law, 140 S. Ct. at 2192; cf. United States v. Curtiss-Wright Export
Corp., 299 U.S. 304, 320 (1936) (the President is the “sole organ of the federal
government in the field of international relations”). For that reason, the Government is
likely to succeed on its claim that the Board’s removal restrictions violate Article II.




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                             III. Remaining Stay Factors

      The remaining factors favor a stay.

        The President faces irreparable harm from not being able to fully exercise his
executive powers. That harm outweighs any harm the removed board members may
face. Trump v. Wilcox, 145 S. Ct. 1415, 1415 (2025) (“the Government faces greater
risk of harm from an order allowing a removed officer to continue exercising the
executive power than a wrongfully removed officer faces from being unable to perform
her statutory duty”). And finally, a stay is in the public interest because the people
elected the President, not the removed board members, to wield the executive power.

                                    *       *        *

      For these reasons, the Government has met its burden for a stay pending
appeal.

                                        Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                BY:      /s/
                                                         Selena R. Gancasz
                                                         Deputy Clerk




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